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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Newport News Division

  GAVIN GRIMM,

       Plaintiff,

  v.                                                  Case No. 4:15-cv-54

  GLOUCESTER COUNTY SCHOOL
  BOARD,

       Defendant.

               REPLY BRIEF IN SUPPORT OF AMENDED MOTION TO DISMISS

                                         INTRODUCTION

           From the outset, the School Board’s goal has been to accommodate Gavin Grimm while

  balancing the legitimate interests of all of its students from kindergarten through twelfth grade.

  The School Board’s policy treats all students the same. Students are to use restroom and locker

  room facilities that correspond with their physiology or use one of three single-stall restrooms

  available for any student. The School Board’s policy complies with Title IX. It also fulfills the

  requirements of the Equal Protection Clause. Simply put, the School Board’s policy does not

  discriminate.

           With respect to Grimm’s Title IX claim, the question posed is answered by the

  straightforward text of the Title IX provisions permitting sex-separated restrooms, locker rooms,

  and showers. The issue raised by the Equal Protection Clause is resolved by looking at how all

  students are treated the same under the School Board’s policy. The School Board, when faced

  with the difficult task of trying to accommodate the interests of all concerned, enacted a policy

  that treated all individuals the same while also protecting the interests of all concerned. Grimm’s

  lawsuit should be dismissed with prejudice.



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                                         LAW AND ARGUMENT

  I.     The School Board’s Restroom and Locker Room Policy is Plainly Permitted by Title
         IX and Section 106.33.

         A.      This Court Need Not Re-Examine Grimm’s Title IX Claim Alleged in the
                 Amended Complaint.

         Grimm suggests that this Court should not defer to the decision of the Honorable Robert

  G. Doumar (“Judge Doumar”) to dismiss Grimm’s Title IX claim, citing a “substantial change in

  applicable law.” See Grimm Memorandum in Opposition to Defendant’s Amended Motion to

  Dismiss at 17 (ECF Doc. 139). However, it is only appropriate for a judge to review another

  judge’s previous decision when there is a substantial change in controlling authority. See U.S.

  Aramony, 166 F.3d 655, 661 (4th Cir. 1999) (noting that law of the case principles require that

  “controlling authority has since made a contrary decision of law applicable to the issue”). In this

  case, Grimm relies on only foreign cases and has not cited Fourth Circuit precedent in support of

  his contention that the School Board’s policy violates Title IX.

         Further, Grimm’s suggestion that the Fourth Circuit “made clear” that the School Board’s

  policy constitutes “invidious discrimination” is not accurate.     See Grimm Memorandum in

  Opposition at 17 (ECF Doc. 139). The concurring opinion by Judge Davis that Grimm cites in

  support of this contention did not contain a legal analysis of Grimm’s Title IX or Equal

  Protection claim, or the School Board’s policy. Instead, this concurring opinion was issued in

  connection with an unopposed order to vacate the preliminary injunction entered by the district

  court after the Supreme Court of the United States vacated the original judgment entered by the

  Fourth Circuit. Indeed, Grimm’s suggestion is in conflict with the Fourth Circuit’s original

  opinion that Title IX permits the School Board’s reading of Section 106.33, as discussed below.

  See Section 1.B, supra.




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            In asking this Court to reconsider Judge Doumar’s decision, Grimm concedes in a

  footnote that the Fourth Circuit, in a 2017 decision, approved the notion that “when the order

  was entered by one judge and then reviewed by another, courts have held that the latter judge

  should be hesitant to overrule the earlier determination.”          See Grimm Memorandum in

  Opposition at 16 (ECF Doc. 139) (quoting Carlson v. Boston Sci. Corp., 856 F.3d 320, 325 (4th

  Cir. 2017)). For the reasons set forth below, Judge Doumar was correct in dismissing Grimm’s

  Title IX claim, and this Court need not re-examine that decision.

            B.       The Fourth Circuit found that Section 106.33 permits the School Board’s
                     policy.

            Section 106.33 permits the Board’s policy. Indeed, the Fourth Circuit previously found

  Section 106.33 “susceptible to more than one plausible reading” regarding how to determine a

  transgender person’s sex. G.G. ex rel. Grimm v. Gloucester Cty. Sch. Bd., 822 F.3d 709, 720

  (4th Cir.), cert. granted in part, 137 S. Ct. 369, 196 L. Ed. 2d 283 (2016), and vacated and

  remanded, 137 S. Ct. 1239, 197 L. Ed. 2d 460 (2017). One of those “plausible reading[s]”

  validates the School Board’s policy: “[T]he regulation,” the Fourth Circuit explained, “permits

  both the Board’s reading … and the Department’s interpretation[.]” 822 F.3d 720 (emphasis

  added).        Now that the Department of Education’s interpretation has been rescinded (and

  deference to it is no longer an issue), the outcome is plain: Because Section 106.33 “permits …

  the Board’s reading,” the Board’s policy must be valid under Title IX. Id.

            Grimm claims the regulation requires schools to provide “access to ‘comparable’

  restrooms for all students.” But Grimm misstates Section 106.33, which requires only that

  separate facilities “for students of one sex shall be comparable … for students of the other sex,”

  34 C.F.R. § 106.33 (emphasis added). Grimm has never alleged that the facilities for males are

  not “comparable” to those for females. The fact that the School Board has gone beyond what the



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  regulation requires by providing additional single-stall restrooms hardly means the School Board

  has engaged in sex discrimination or failed to provide “comparable” facilities.

         In short, as the Fourth Circuit correctly concluded, Section 106.33 by its terms permits

  the School Board’s restroom and locker room policy; therefore, the School Board’s policy does

  not violate Title IX.

         C.      Title IX does not require treating transgender boys and girls exactly like
                 other boys and girls for purposes of restroom and locker room access.

         The Title IX term “sex” is a binary concept referring to the physiological differences

  between males and females, and no evidence suggests the term as used in Title IX ever turned on

  gender identity. See Brief in Support of Amended Motion to Dismiss Amended Complaint (ECF

  Doc. 136, pp. 8-22).     The legislative history shows that Title IX’s prohibition on “sex”

  discrimination does not require equating “boys” with “transgender boys” or “girls” with

  “transgender girls.” In other words, there is nothing to suggest that a “boy” for Title IX purposes

  must include someone born female but whose gender dysphoria led her to masculinize her

  appearance or physiology. This conclusion is reinforced by the fact that transgender persons

  may identify as neither male nor female, may shift between the two, may identify as having no

  sex, and frequently desist from gender dysphoria after childhood. See American Psychiatric

  Association, Diagnostic and Statistical Manual of Mental Disorders 451 (5th ed. 2013) (defining

  “gender identity” as “an individual’s identification as male, female, or, occasionally, some

  category other than male or female”; defining “transgender” as “individuals who transiently or

  persistently identify with a gender different from their gender at birth”). In short, the Title IX

  term “sex” does not encompass the multi-faceted and fluid concept of “transgender” that Grimm

  envisions.




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         The Fourth Circuit previously quoted two 1970s-era definitions of “sex” referring to the

  “anatomical and physiological differences” between males and females and to “the sum of the

  morphological, physiological, and behavioral peculiarities of living beings that subserves

  biparental reproduction.” G.G., 822 F.3d at 721 (quoting American College Dictionary 1109

  (1970) and Webster’s Third New International Dictionary 2081 (1971)). It found on that basis

  that the term “sex” was ambiguous as applied to transgender persons, and thus deferred to the

  Department of Education’s now-rescinded guidance documents, G.G., 822 F.3d at 722–23. It

  hardly held, however, that the “plain meaning” of the term includes other “cultural” differences

  as claimed by Grimm.

         Grimm points to one other definition of “sex” — from the online Oxford English

  Dictionary—to claim that the “plain meaning” of “sex” includes “cultural” differences between

  men and women. See Grimm Memorandum in Opposition at n. 15 (ECF Doc. 139) (quoting

  OED Online, Oxford Univ. Press, “sex, n., 4a”). But Grimm only refers to a subpart of one

  definition of “sex” — which merely considers the term as “a social or cultural phenomenon”—

  while disregarding another definition that “sex” is “[e]ither of the two main categories (male and

  female) into which humans and many other living things are divided on the basis of their

  reproductive functions.” OED Online, sex, n, 1a. These definitions do not support that the term

  “sex”, as used in Title IX, hinges on gender identity or the fluid “transgender” concept. Cherry-

  picking definitions is no way to interpret statutory and regulatory text. See, e.g., MCI

  Telecomms. Corp. v. Am. Tel. & Tel. Co., 512 U.S. 218, 227–28 (1994).

         In sum, Title IX’s use of the term “sex” does not plausibly include persons of one birth

  sex who, given their gender dysphoria, have altered their appearance or physiology. To read into

  Title IX some definitive answer to the question of which “sex” a “transgender” person should be




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  considered for purposes of sex-separated facilities—even assuming a single answer is possible—

  would be to legislate a version of Title IX that does not exist.

         D.      The School Board’s policy does not engage in “transgender status”
                 discrimination or in “sex stereotyping.”

         Relying on out-of-circuit precedent, Grimm asks this Court to recognize a Title IX claim

  for “transgender status” discrimination. Relatedly, Grimm argues that the School Board’s policy

  is “sex stereotyping” under Price Waterhouse v. Hopkins, 490 U.S. 228 (1989). Id. at 20.

         Grimm’s cases do not recognize a claim for “transgender status” discrimination. 1 Instead,

  those cases—arising largely under Title VII—involve adverse action (such as firing) taken

  because a transgender person’s appearance does not conform to birth sex. See, e.g., Finkle v.

  Howard Cnty., 12 F. Supp. 3d 780, 781, 789 (D. Md. 2014) (Title VII claim based on allegations

  that male-to-female transgender was not hired due to masculine appearance). In those situations,

  some courts have recognized a sex stereotyping claim. See, e.g., Smith v. City of Salem, 378

  F.3d 566, 572 (6th Cir. 2004) (recognizing Title VII claim when male-to-female transgender was

  allegedly fired for “conduct and mannerisms … [that] did not conform with his employer’s and

  co-workers’ sex stereotypes of how a man should look and behave”).

         The United States Attorney General recently issued a memorandum calling into question

  the legitimacy of using sex-stereotyping claims as a way to litigate transgender rights. The

  Attorney General’s October 4, 2017 memorandum states, “Although federal law, including Title


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    See, e.g., Schroer v. Billington, 577 F. Supp. 2d 293, 305 (D.D.C. 2008) (observing that
  “transsexuality itself … [is] a characteristic that, in and of itself, nearly all federal courts have
  said is unprotected by Title VII”); see also, e.g., Johnston v. Univ. of Pittsburgh Univ. of the
  Com. Sys. of Higher Educ., 97 F. Supp. 3d 657, 674 (W.D. Pa. 2015) (observing that “nearly
  every federal court that has considered the question in the Title VII context has found that
  transgendered individuals are not a protected class under Title VII”); Etsitty v. Utah Transit
  Auth., 502 F.3d 1215, 1221 (10th Cir. 2007) (joining “vast majority of federal courts … and
  conclud[ing] that discrimination against a transsexual based on that person’s status as a
  transsexual is not discrimination because of sex under Title VII”).


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  VII, provides various protections to transgender individuals, Title VII does not prohibit

  discrimination based on gender identity per se.” It goes on to state:

                 Although Title VII bars ‘sex stereotypes’ insofar as that particular
                 sort of ‘sex-based consideration[]’ causes ‘disparate treatment of
                 men and women,’ Price Waterhouse v. Hopkins, 490 U.S. 228,
                 242, 251 (1989) (plurality op.), Title VII is not properly construed
                 to proscribe employment practices (such as sex-specific
                 bathrooms) that take account of the sex of employees but do not
                 impose different burdens on similarly situated members of each
                 sex, see e.g., Jespersen v. Harrah’s Operating Co., Inc., 444 F.3d
                 1104, 1109-10 (9th Cir. 2006) (en banc) . . . Accordingly, Title
                 VII’s prohibition on sex discrimination encompasses
                 discrimination between men and women but does not encompass
                 discrimination based on gender identity per se, including
                 transgender status.

  See October 4, 2017 Memorandum of the Attorney General (Ex. A).

         Here, the School Board’s policy distinguishes students based on physiological sex—not

  “transgender status” or masculine or feminine appearance. The School Board’s policy is thus the

  opposite of sex stereotyping. The Tenth Circuit agrees, explaining that the “[u]se of a restroom

  designated for the opposite sex does not constitute a mere failure to conform to sex stereotypes.”

  Etsitty, 502 F.3d at 1224. 2 Furthermore, far from taking adverse action against persons based on

  gender-nonconforming appearance, the School Board’s policy merely separates students based

  on physiological sex—as has been allowed by Title IX for nearly half a century. See, e.g.,

  Johnston, 97 F. Supp. 3d at 672–82, 678 (rejecting transgender plaintiff’s Title IX claim against



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    The Seventh Circuit recently became the first to recognize a sex stereotyping claim against sex-
  separated school restrooms, on the theory that establishing such restrooms “punishes [a
  transgender] individual for his or her gender non-conformance.” Whitaker v. Kenosha Unified
  Sch. Dist., 858 F.3d 1034, 1049 (7th Cir. May 30, 2017). But that is wrong, as explained in
  Etsitty, 502 F.3d at 1224, and Johnston, 97 F.Supp.3d at 679–82. To dismiss as a “stereotype”
  the physiological distinctions between men and women—especially in places like restrooms,
  locker rooms, and showers—pushes the sex-stereotyping theory into incoherence. See, e.g.,
  Johnston, 97 F. Supp. 3d at 681 (requiring someone to use restroom of his or her biological sex
  does not allege discrimination based on “preconceived notions of gender stereotypes”).


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  sex-separated restrooms and “find[ing] particularly compelling that the regulations implementing

  Title IX explicitly permit … separate toilet, locker room, and shower facilities on the basis of

  sex”). Accordingly, the School Board’s policy does not violate Title IX, and this claim must be

  dismissed with prejudice.

  II.    The School Board’s Policy Does Not Violate the Equal Protection Clause.

         A.      Grimm does not contest that all students are treated the same under the
                 School Board’s policy.

         Grimm previously conceded that he is not asking the Court to recognize transgender

  status as a suspect classification entitled to heightened scrutiny and protection under the Equal

  Protection clause. See ECF Doc. 41, p. 6. Instead, Grimm argues that the School Board’s policy

  constitutes gender discrimination under the Equal Protection Clause. Regardless, Grimm cannot

  show that the School Board treated him any differently than other students.

         At its most basic level, the School Board’s policy provides that if a student is

  physiologically a female, the student can use the girls’ restrooms or a single-stall restroom, but

  the student cannot use a restroom designated for physiological males. The same in reverse is

  true with physiological males. See Amended Complaint at ¶¶ 64-66 (ECF Doc. 113). As a

  result, all students, including female to male transgender and male to female transgender

  students, are treated the same. Thus, under the School Board’s restroom policy, Grimm was

  treated like every other student in the Gloucester Schools.

         Grimm was permitted to use the girls’ restroom under the School Board’s policy, but

  would not do so. Id. at ¶ 69. Grimm was permitted to use the single-stall restrooms, but refused

  to do so. Id. Accordingly, Grimm cannot demonstrate that he was treated differently from

  others similarly situated, or that he was subject to intentional discrimination in violation of the

  Equal Protection clause. See Workman v. Mingo County Bd. of Educ., 419 F. App'x 348, 354



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  (4th Cir. 2011) (no evidence of unequal treatment in application of state mandatory vaccination

  laws before admission to school); Hanton v. Gilbert, 36 F.3d 4, 8 (4th Cir. 1994) (no evidence

  that similarly situated males were afforded different treatment). Grimm’s Equal Protection claim

  cannot survive under the facts of the Amended Complaint and should be dismissed with

  prejudice.

         B.      The privacy concerns of other students must be balanced against Grimm’s
                 rights.

         Regardless of the level of scrutiny that applies, the School Board’s policy is not just

  rationally related, but substantially related, to the important governmental interest of protecting

  the privacy of all of its students. Grimm dismisses other students’ privacy concerns with the ipse

  dixit that Grimm’s “use of the boys’ restroom does not infringe on anyone else’s privacy.”

  Indeed, Grimm’s unconcern applies “even in the context of locker rooms” since, according to

  Grimm, “[i]n many school locker rooms, students … change [clothes] without fully undressing.”

  See Grimm Memorandum in Opposition at n. 24. All this would run afoul of what Justice

  Ginsburg wrote in United States v. Virginia that admitting women to a previously all-male

  military school “would undoubtedly require alterations necessary to afford members of each sex

  privacy from the other sex in living arrangements[.]” 518 U.S. 515, 550 n.19 (1996). And it

  would also surprise members of the Fourth Circuit, which has noted “society’s undisputed

  approval of separate public rest rooms for men and women based on privacy concerns.”

  Faulkner v. Jones, 10 F.3d 226, 232 (4th Cir. 1993).

         People legitimately form privacy expectations in public restrooms, locker rooms, or

  showers not based on whether people might be partially or fully undressed in those facilities, or




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  whether bathroom stalls have “privacy strips,” but at the doors marked “M” and “W.”3

  Moreover, the issue of privacy is of paramount importance when dealing with school age

  children.

          The School Board’s policy takes into consideration the privacy needs of all students,

  from kindergarten through twelfth grade. The School Board has a responsibility to its students to

  ensure their privacy while engaging in personal bathroom functions, disrobing, dressing, and

  showering outside of the presence of members of the opposite sex. This is particularly true in an

  environment where children are still developing, both emotionally and physically. See, e.g.,

  Burns v. Gagnon, 283 Va. 657, 671, 727 S.E.2d 634, 643 (2012) (school administrators have a

  responsibility “to supervise and ensure that students could have an education in an atmosphere

  conducive to learning, free of disruption, and threat to person.”); Va. Code § 22.1-254

  (compulsory attendance).

          As Johnston recognized, the context of this dispute is important. Here, the School Board

  is balancing the needs, interests and rights of children from age five through age 18. The right to

  privacy for students strongly supports maintaining sex-segregated restrooms and locker rooms.

  See Johnston, 97 F. Supp. 3d at 668 (finding “controlling the unique contours under which this

  case arises,” namely a public school which is “tasked with providing safe and appropriate

  facilities for all of its students.”).




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    This same argument applies to the Title IX analysis, because reading “sex” in Title IX to
  encompass “gender identity” or “transgender status” results in significant privacy concerns. That
  is why Title IX regulations have long allowed certain separate “facilities” on the basis of “sex,”
  34 C.F.R. § 106.33, a policy choice that Grimm does not purport to contest.


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                                        CONCLUSION

         For all of the foregoing reasons, the Gloucester County School Board respectfully

  requests that the Court grant the Motion to Dismiss, and dismiss Plaintiff’s Amended Complaint

  in its entirety and with prejudice.




                                                     GLOUCESTER COUNTY SCHOOL
                                                     BOARD

                                                     By Counsel



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                                        CERTIFICATE

         I hereby certify that on the 16th day of January 2018, I filed a copy of the foregoing

  document with the Clerk of the Court using the CM/ECF system, which will automatically send

  a Notice of Electronic Filing to all counsel of record.


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